     CASH DEPOT; LTD                                                                                                                                                                                     122904
          VENDORID                                                     NAME                                 PAYMENT NUMBER         CHECK·DATE

         TIM FAST                                   TIM FAST                                                     0041725              6/5/201

    OUR VOUCHER NUMBER \ YOUR VOUCHER NUMBER                                                       DATE               AMOUNT            AMOUNT PAID         DISCOUNT                   WRITE-OFF       NET
                                                                                                                                                                        r
          Vl-90011                                  AUDIT PAY                                  61212017                                         $338.98         $0.00                          $0.00         $338.9



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                                                                                                                                                             6/5/2017                                  $338.98
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    PAY: .
                     Three
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                            Hundred
                              · .
                                    Thirty EighfDollars
                                  .....      ·   · . ·.
                                                         and 96/Cents
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                                               Case 1:16-cv-01637-WCG Filed 09/01/17 Page 1 of 3 Document 36-4
                                                                                                                                                  0000069
                                                                                                                                          DATE
          CASH DEPOT, LTO                                                                                                                 06/05/201 7
          1740 COFRIN DRIVE
          GREEN BAY, WI 54302
                                                                                                                             AMOUNT

                                                                                                                     $                  338.98
         THREE HUNDRED THIRTY EIGHT DOLLARS and 98 CENTS
PAY
TO THE
ORDER
OF
            Timothy J. Fast
            2564 Swanson Road
            Portage, IN 46368




  642                      FSRVC                       Fast, T. J.                            XXX-XX-8375          05/31/2017             0000069
     Elllf>LOYEE NO.           DEPARTMENT                       EMPLOYEE NAME              SOCIAL SECURllY NO.      PERIOD END              CHECK NO.

               EARNINGS                HRSIUNrTS        CURRENT AMOUNT     YEAR TO DATE          DEDUCTIONS              CURRENT AMOUNT        YEAR TO DATE

  Audit Pay                                   0 .000            380.76            380.76   FEDERAL MEDICAR                         5.52                   5.52
                                                                                           FEDERAL SOCIAL                         23.61                  23.61
                                                                                           INDIANA                                10.95                  10.95
                                                                                           Porter Cty IN                           1.70                   1.70




 VACATION BAL                                 0.000

       PAY RATE
               15.00   J            380.761
                           CURRENT EARNINGS
                                                               41.78
                                                  CURRENT DEDUCTIONS
                                                                                   338.98 1
                                                                             NET PAY
                                                                                                        380.76 1
                                                                                               Y.T.D. EARNINGS
                                                                                                                                 41 .78 1
                                                                                                                    Y.T.D. DEDUCTIONS
                                                                                                                                                        338.98
                                                                                                                                              Y.T.D. NET PAY

Employer Match 401K:




                             Case 1:16-cv-01637-WCG Filed 09/01/17 Page 2 of 3 Document 36-4
Thomas M. Olejniczak                                                                                                 Retired,
F<edeTick L. Schmidt
                                                                                                           G<egfft'J B. Com•aJ
R. George Burnett
                                                                                                              J. Michael Jerry
Gregfft'J A. Grobe


                                                         _yati/~Hl~
Tori L. Klues<
RobeTt M. Charles
Brick N. MuTPhJ
Jodi Arndt Labs
D.wid H. Weber
                               CONWAY, OLEJNICZAK & }ERRY, S.C. Telephone:                                   (920)437-0476
Ross W. Totunsend                                                                                  Facsimile: (920) 43 7-2868
Michele M. McKinTI()n
                                                                 (   Since 1976 )
Kurt A Goehre
                                                                                                           GB@lcojlaw.com
}ames M. Led1•ina
Steven). Kmeg.,-                                                                                      www.lcojlaw.com
)iU]. RaJ
Joshua M. Koch
                                                                JW1e 6, 2017

              Attorney James A. Walcheske
              15850 W. Bluemound Road, Suite 304
              Brookfield, WI 53005-6008

              Re:       Fast, Timothy J. vs. Cash Depot, Ltd.

              Dear Attorney Walcheske:
              I have enclosed my client's draft in the amount of$338.98, which represents the full amount that
              your client would be owed in the event he received everything he claims in his complaint in the
              above-referenced action. The calculation has been done by Schenck & Company, Cash Depot's
              outside accounting firm, and includes all statutory damages as well as the allegedly unpaid
              compensation he claims. We forward this based on the economic considerations involved,
              particularly the fact that the cost of litigating your client's claims will greatly exceed anything
              that might be owed him.

              We have not enclosed a check for the costs or reasonable attorneys' fees in advancing the claim,
              because that information is lacking. My client will pay those costs and reasonable fees, so please
              forward an accounting of the costs and reasonable fees, and we will promptly remit payment.

              In the event that this request is somehow insufficient for your purposes, I have enclosed a formal
              discovery request as well.

              If you have any questions regarding any of the above, please advise.

              Thank you very much.

              Very truly yours,

                                  CONWAY, OLEJNICZAK & JERRY, S.C.


             By:


             GB:jf: 2612053
             Enclosure

                                                                   Gree n Bay, WI 54 30 1
                                        2.] 1 3/;at,{ ...ffdam.J .:l'rreet •
                   P. O. Box 23200 • Green Bay, WI 54 305-3 20 0 • Phone: 92 0 .437.0476 • Fax: 920 .437.2868
                        Case 1:16-cv-01637-WCG Filed 09/01/17 Page 3 of 3 Document 36-4
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